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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF MINNESOTA



IN RE PORK ANTITRUST LITIGATION                Civil Action No. 18-cv-01776

IN RE CATTLE AND BEEF ANTITRUST                Civil Action No. 22-md-03031
LITIGATION
                                               Honorable John R. Tunheim
THIS DOCUMENT RELATES TO:                      Honorable John F. Docherty
Sysco Corp. v. Agri Stats, Inc., et al.,
Case No. 21-cv-01374 (D. Minn.), and
Sysco Corp. v. Cargill Inc., et al.
Case No. 22-cv-01750 (D. Minn.)


  SYSCO CORPORATION’S OBJECTION TO MAGISTRATE JUDGE
 ORDER DENYING MOTIONS FOR SUBSTITUTION OF PLAINTIFF

      Pursuant to Local Rule 72.2(a), Plaintiff Sysco Corporation (“Sysco”)

hereby objects to Magistrate Judge John F. Docherty’s February 9, 2024, Order

(“Order”) denying Sysco and Carina Venture LLC’s (“Carina”) Joint Motions

for Substitution of Plaintiff seeking to substitute Carina for Sysco as the

named plaintiff in the above-captioned cases (hereafter “Beef” and “Pork”). See

Dkt. No 545 (Beef); Dkt. No. 2104 (Pork). That decision is contrary to Eighth

Circuit law and the decisions of this Court.      Further, Magistrate Judge

Docherty’s stated public policy rationales for denying substitution are legally

erroneous and improperly motivated by a separate, since-resolved dispute

between Sysco and Burford Capital (Carina’s affiliate) – which was neither

before this Court nor at issue in the motions for substitution. As a result of
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the ruling below, Sysco is forced to remain the nominal plaintiff even though

Carina owns and controls the claims asserted in these actions. There is no

basis for that unwieldy result. The magistrate judge’s decision is contrary to

law and must be set aside. See Burroughs v. Mackie Moving Sys. Corp., 690

F.3d 1047, 1053 (8th Cir. 2012) (application of “public policy” is a “legal” issue);

E. Coast Test Prep LLC v. Allnurses.com, Inc., 167 F. Supp. 3d 1018, 1021 (D.

Minn. 2016) (Tunheim, J.) (district court reviews legal issues de novo).

                                BACKGROUND

      Sysco filed these cases seeking to recover damages from the Defendants’

anticompetitive and unlawful manipulation of the Beef and Pork markets.

Sysco’s cases were then transferred and consolidated into the MDLs now before

the Court. In connection with its claims, Sysco also contracted with affiliates

of Burford Capital LLC (collectively, “Burford”) to receive litigation financing

in exchange for a portion of any future settlement or judgment, but Sysco

retained ownership and control of the claims.           And Sysco continued to

prosecute the claims in its own name.

      In the fall of 2022, Sysco and Burford disagreed on the merits of proposed

settlements with a limited number of Defendants in the protein litigations,

including JBS in Pork and Beef. That disagreement resulted in a dispute

between Burford and Sysco over a provision added to the financing agreement

when the parties resolved a prior contractual dispute. That provision stated

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that Sysco “shall not accept a settlement offer without [Burford’s] prior written

consent, which shall not be unreasonably withheld.” Pork, Dkt. No. 1952 at 2;

Beef, Dkt. No. 283 at 2. Sysco and Burford disagreed about both the meaning

and validity of this provision. Sysco also discharged its antitrust counsel in

these cases – Boies Schiller Flexner LLP – over concerns about Boies Schiller’s

representation of Sysco in these cases.1

      After an arbitral tribunal temporarily enjoined Sysco from finalizing the

proposed settlements, Sysco petitioned to vacate the TRO in the Northern

District of Illinois. See Pet. to Vacate Arbitration Award, Sysco Corp. v. Glaz

LLC, No. 1:23-cv-01451 (N.D. Ill. Mar. 8, 2023), ECF. No. 1. The tribunal later

superseded its TRO with a preliminary injunction that prevented Sysco from

executing the settlements prior to the final merits hearing. Burford petitioned

to confirm that preliminary award in New York state court – which was later

removed to the Southern District of New York. See Notice of Removal, Glaz

LLC v. Sysco Corp., No. 1:23-cv-02489 (S.D.N.Y. Mar. 23, 2023), ECF. No. 1.


      1 After discharging Boies Schiller, Sysco sought a partial stay while it

retained new counsel. See Pork, Dkt. No. 1843; Beef, Dkt. No. 164. Two weeks
after the Court granted the stay, Sysco notified the court that it had retained
new counsel. See Pork, Dkt. Nos. 1890, 1910; Beef, Dkt. Nos. 192, 213. The
magistrate judge suggested (Order at 9) that Sysco’s settlement with Burford
and subsequent assignment to Carina resulted from this change in counsel.
That is incorrect. Throughout its dispute with Burford, Sysco maintained
separate counsel. The settlement was part of the evolution of the dispute with
Burford, not an abrupt change influenced by any changes in Sysco’s (or
Burford’s counsel).

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Sysco’s consistent position throughout – in the arbitration and its petition to

vacate – was that the owner of a claim should have full control to prosecute

and settle that claim.

      In June 2023, Sysco voluntarily assigned its claims in Pork and Beef, as

well as the Broiler Chicken and Turkey antitrust actions, to Carina, a

subsidiary of Burford. The assignment was part of a hard-won settlement that

served Sysco’s important commercial interests.             It resolved Sysco’s

disagreements with Burford over their respective contractual rights under the

litigation-finance agreement; it resolved Sysco’s dispute with Boies Schiller

over its joint representation of Sysco and another Burford entity; and it

alleviated Sysco’s burden to pursue expensive litigation against its

commercially important suppliers. This settlement ended litigation in two

different federal courts and the parties’ arbitration, including any future

judicial proceedings arising from that arbitration.

      Pursuant to the assignment agreement, Sysco assigned to Carina “all of

[Sysco’s] right, title and interest” in its antitrust claims. Pork, Dkt. No. 1940

at 4, Beef, Dkt. No. 277 at 4. Carina now “possesses all rights to prosecute,

enforce and collect the Claims.” Id. The assignment was intended to allow

Carina to continue litigating as the named plaintiff those claims that Sysco

expressly assigned to it – a core purpose of the settlement. Sysco agreed that

it would continue to provide discovery to the defendants as if it remained a

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party. Accordingly, Sysco and Carina jointly moved to substitute Carina as the

plaintiff in these cases under Federal Rule of Civil Procedure 25(c).

                                 ARGUMENT

      I.    Requiring Sysco to Continue to Litigate Claims It Has
            Voluntarily Assigned to Carina is Contrary to Rule 25.

      Magistrate Judge Docherty’s denial of substitution has vitiated the core

benefits of Sysco’s bargain – leaving it in the undesired and impracticable

position of having to continue to litigate claims that it no longer owns or has

any economic stake in.

      The magistrate judge reached this result out of a perceived public policy

interest in protecting Sysco’s right to control over its own litigation. But in

doing so, the magistrate judge was opining on a bygone dispute (the dispute

between Sysco and Burford), not the dispute before the Court (Defendants’

opposition to the joint motions for substitution).

      Within the context of its now-settled dispute with Burford, Sysco argued

to the arbitral tribunal (and to the district court on review of the arbitral

award) many of the policy arguments that the magistrate judge adopted below.

But that dispute is no longer live, either in arbitration or in court. Now that

Sysco has assigned its claims to Carina pursuant to the resolution of its dispute

with Burford, the magistrate judge erred by adopting those same policy

arguments in denying Sysco and Carina’s joint motion for substitution.



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      As the magistrate judge acknowledged, the overwhelming weight of

federal precedent is that federal claims (and federal antitrust claims in

particular) can be freely assigned. See, e.g., Mojave Desert Holdings, LLC v.

Crocs, Inc., 995 F.3d 969, 978 (Fed. Cir. 2021) (noting the Supreme Court’s

recognition that “federal causes of action” are “generally assignable”);

Gulfstream III Assocs., Inc. v. Gulfstream Aerospace Corp., 995 F.2d 425, 437

(3d Cir. 1993) (“There is no serious doubt that an antitrust claim can be

expressly assigned.”); see also Order at 28 (“This Court does not doubt that

antitrust claims are freely assignable”); id. at 24-25 (acknowledging that

Carina has Article III and antitrust standing through assignment).

      Given the valid assignment, it is denial of substitution that is contrary

to public policy. Indeed, every decision of the Eighth Circuit and this Court

has recognized that substitution is appropriate where a claim is assigned.

There is no case to the contrary. See ELCA Enters., Inc. v. Sisco Equip. Rental

& Sales, Inc., 53 F.3d 186, 191 (8th Cir. 1995); Columbian Bank & Tr. Co. v.

Miller, 384 F. App’x 524, 525 (8th Cir. 2010); Jalin Realty Cap. Advisors, LLC

v. A Better Wireless, NISP, LLC, No. 11-cv-165 (JRT/LIB), 2017 WL 1968285,

at *4 (D. Minn. Apr. 18, 2017), report and recommendation adopted, 2017 WL

1967353 (D. Minn. May 11, 2017) (Tunheim, J.); Couf v. Equitable Life

Assurance Soc’y of the U.S., No. 03-1061 (JNR/JGL), 2003 WL 27384629, at *2

(D. Minn. Dec. 17, 2003).

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      First and foremost, the denial of substitution is contrary to Rule 25’s

underlying rationale: that litigation be conducted by the party that actually

possesses “the right sought to be enforced.” United HealthCare Corp. v. Am.

Trade Ins. Co., Ltd., 88 F.3d 563, 569 (8th Cir. 1996) (citation omitted). Rule

17 requires that the litigation be prosecuted in the name of the real party in

interest, and “Rule 25(c) is, in effect, the continuation of Rule 17.” Explosives

Corp. of Am. v. Garlam Enters. Corp., 817 F.2d 894, 907 (1st Cir. 1987); see

also 25 Fed. Proc., L. Ed. § 59:433 (“[T]he primary purpose of [Rule 25(c)] is to

insure that litigation be conducted by the real party in interest.”) (citation

omitted).   The magistrate judge’s decision disregards this fundamental

principle by forcing Sysco to remain the named plaintiff even though it no

longer has any rights, interests, or claims left in this litigation.

      The denial of substitution also runs contrary to Rule 25’s purpose to

“facilitate the conduct of the litigation.” Jalin Realty, 2017 WL 1968285, at *3

(quotation marks and citation omitted). In requiring Sysco to continue to

litigate claims it no longer owns or has any interest in, the magistrate judge

created an impracticable situation in which Sysco must act as if it is the

plaintiff prosecuting claims it does not own. The magistrate judge offered no

explanation of how this arrangement would help streamline the litigation. It

creates needless complexity for Sysco to have to serve as the nominal plaintiff

when Carina, not Sysco, has the exclusive right to pursue, litigate, or settle the

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claims at its own discretion. The only result that “facilitate[s] the conduct of

the litigation” is to give Carina the right to directly control the claims it now

owns. Id.

      The magistrate judge’s assertion that “the transfer . . . has caused serious

practical problems in this litigation,” Order at 3, was also misguided. The only

issue the magistrate judge referenced was Sysco’s request for a partial stay of

its cases after it discharged Boies Schiller. See Order at 9 (“This Court . . . had

to partially stay two of the largest cases on its docket for 60 days each while

Sysco obtained new counsel.”).      But the impact of Sysco’s replacement of

counsel was negligible: the stay extended one document production deadline

in Beef, but there was no disruption to any other cases or to MDL coordination.

See supra, footnote 1.2 More to the point, Sysco sought the stay in March 2023

– a full three months before the settlement and assignment with Burford – and

for a completely different reason (the termination of prior counsel). That stay

does not demonstrate that substitution would create practical problems. And

it clearly will not: substitution will facilitate the litigation by letting Carina




      2
       There were no material litigation developments in Pork during the stay.
In Beef, the only practical effect of the stay was the extension of an April 3,
2023, deadline for Sysco to produce certain documents, which the magistrate
judge extended by 30 days, without any objection by any Defendant. See Pork,
Dkt. No. 1890; Beef, Dkt. No. 193.
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directly litigate the claims that it now owns.3

      II.   The Public Policies Cited by the Magistrate Judge Do Not
            Justify Denial of Substitution

      In large part because it was focused on a prior, now-moot dispute, the

magistrate judge’s public policy analysis was legally flawed.         The policy

concerns undergirding the magistrate judge’s decision actually favor

substitution.

      A.    The Policy Favoring Settlement Supports Substitution

      First, the public policy favoring settlement (Order at 19) also favors

substitution. Sysco’s settlement with Burford was motivated in part by Sysco’s

desire to extricate itself from litigation and avoid the significant commercial

risks and hazards associated therewith. The denial of substitution deprives

Sysco of the benefit of its settlement bargain with Burford. The magistrate

judge acknowledged that the law protects the “integrity of a negotiated

settlement[,]” Order at 20 (quoting Smith v. Questar Cap. Corp., No. 12-cv-

02669 (SRN/TNL), 2015 WL 1963019, at *12 (D. Minn. Apr. 30, 2015)), but

then disregarded that settlement by vitiating Sysco’s right to be removed as a



      3 For its part, Sysco has committed to provide discovery and make
witnesses available to the same extent as if it was a party. See Hr’g Tr. at 49:2-
12, Dkt. No. 2013 (Pork); Dkt. No. 337 (Beef) (“Sysco has agreed it will continue
to respond to discovery as if it were a party” and Sysco offered “to enter into a
stipulation that then gets ordered by the Court as far as its obligations going
forward.”). Those representations will ensure that substitution works no
prejudice to the Defendants – a point the magistrate judge did not dispute.
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party, see id. at 9 (noting that “[p]eace of a sort was restored” by Burford and

Sysco’s settlement, but explaining that “it was achieved in a manner that . . .

this Court will not countenance”).

      The magistrate judge was seemingly troubled that the prior dispute

between Burford and Sysco may have prevented the consummation of a

proposed settlement between Sysco and JBS. But that proposed settlement is

history. As much as Sysco disagrees with its conclusion, an arbitral tribunal

enjoined Sysco from executing the settlement. Neither Sysco nor Burford

sought review of that ruling from this Court, so the magistrate judge’s policy

pronouncements were outside his remit. As a practical matter, moreover,

punishing Sysco – by preventing it from being substituted from the case –

cannot bring that settlement back. The magistrate judge may have assumed

that Sysco and JBS would revive settlement discussions if Sysco remained in

control, but the litigation has progressed, additional discovery has occurred,

and Sysco is now represented by new counsel.         Sysco no longer has any

intention to accept those prior settlement offers. Indeed, Sysco has opposed

Pilgrim’s effort to enforce the purported settlement in the Chicken litigation.

See Sysco Corp.’s Opp’n to Pilgrim Pride Corp.’s Mot. to Enforce, In re Broiler

Chicken Antitrust Litig. (N.D. Ill. Oct. 13, 2023), ECF. No. 6975.

      More fundamentally, these claims are no longer Sysco’s to settle. As

Sysco has repeatedly made clear, “Carina, not Sysco, has the exclusive right to

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pursue, litigate, or settle [the] claims at its own discretion.” Pork, Dkt. No.

1992 at 7; see also id. at 5 (“[A]s a contractual matter, Sysco no longer has any

rights, interest, or claims left in this litigation.”); id. at 15 (“Sysco has no right,

interest, or claims left in this litigation anymore.”); Beef, Dkt. No. 313 at 3

(same). The public policy favoring settlement does not allow the Court to use

Rule 25 to override the right of Carina – which now owns the claims – to decide

whether and on what terms to settle.4 As a procedural rule, Rule 25 is not

meant to alter or abridge substantive rights. See 28 U.S.C. § 2072(b) (“[The

Federal Rules] shall not abridge, enlarge or modify any substantive right.”);

see also Great W. Cas. Co. v. Kirsch Transp. Servs., Inc., No. 1:18-cv-00012-

SHL, 2022 WL 4182377, at *3 (S.D. Iowa June 3, 2022) (“There is little law

governing how a court should exercise its discretion but the Court clearly must

take care not to impair the substantive rights of the parties.”) (cleaned up).

      B.     Substitution Promotes Antitrust Policy

      The magistrate judge also incorrectly concluded that the rationale

behind the antitrust standing doctrine “[w]eighs [a]gainst [s]ubstitution.”


      4
        The magistrate judge (twice) claimed that “Sysco and Carina have
forthrightly said that the assignment was intended to allow Carina to stymie
settlements with Defendants.” Order at 21; see also id. at 19 (“Sysco and
Carina frankly admit that their motive to substitute Carina for Sysco is that
Sysco was planning to settle these antitrust claims for lower amounts than
Burford wanted.”). That is not accurate. The assignment was intended to
settle a multi-faceted, multi-party dispute, and it transferred to Carina all of
the rights associated with the claims.

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Order at 21. Antitrust standing doctrine may “limit[] the pool of potential

antitrust plaintiffs” to those who suffered antitrust injury, id. at 22 – but that

doctrine does not limit the right of a party that did suffer antitrust injury from

assigning its claims to a third party. The magistrate judge cited no authority

for its contrary conclusion, which, if adopted, would undermine both the right

of antitrust plaintiffs to assign their claims to third parties and the important

federal interest in vigorous enforcement of the antitrust laws.

      As a direct purchaser of billions of dollars of food and other products

every year, Sysco has a strong interest in making sure that the magistrate

judge’s flawed public policy analysis is reversed. As direct purchaser, Sysco

alone has federal antitrust standing to bring claims for anticompetitive

conduct. But Sysco’s business is distribution, not litigation, and Sysco does not

always want to assume the significant costs and hazards associated with

litigation. The magistrate judge’s rationale would unduly impede Sysco and

other direct purchasers from transferring its claims to those that may be better

positioned to prosecute the claims – a result contrary to both settled precedent

and sound federal antitrust policy.

      As a matter of precedent, the uniform case law on point supports the

ability of a direct purchaser to assign federal antitrust claims to third parties

– even those who were not themselves injured, but whose injury derives from

the assignment itself. See, e.g., Cordes & Co. Fin. Servs., Inc. v. A.G. Edwards

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& Sons, Inc., 502 F.3d 91, 103 (2d Cir. 2007) (explaining, in the context of the

assignment of antitrust claims to an unrelated investment vehicle, that “[t]he

purchasing of claims, whether before or after suit has been brought upon them,

for the purpose of turning a profit is nonetheless not categorically forbidden”;

instead “such assignments are widely permitted, presumably in order to allow

holders of claims to transfer the risk of loss to someone better able or more

willing to pursue the claim or to undertake the risk.”) (citations omitted); cf.

Br. for Defs.-Appellees at 9, Cordes & Co. Fin. Servs., Inc. v. A.G. Edwards &

Sons, Inc., No. 06-cv-2143, 2006 WL 5004138, at *9 (2d Cir. Nov. 13, 2006)

(explaining that “Cordes & Company Financial Services, Inc. (‘Cordes’), is a

privately owned investment vehicle for an individual speculator.”).

      Indeed, the Supreme Court has rejected rules that “have the effect of

deterring normal business transactions during the pendency of what might be

lengthy litigation.” Freeport-McMoRan, Inc. v. K N Energy, Inc., 498 U.S. 426,

428 (1991) (holding that substitution of a nondiverse party under Rule 25(c)

did not destroy diversity jurisdiction). And the courts have likewise explained

the important policy interest supporting that rule: in many cases unrelated

third parties will be in the best position to enforce the antitrust laws. See, e.g.,

Wallach v. Eaton Corp., 837 F.3d 356, 370 (3d Cir. 2016) (federal law

encourages an antitrust plaintiff “uninterested in pursuing its claims” to

assign those claims to a “willing and interested assignee”).

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      In short, federal antitrust law policy both limits the types of injury that

allow a party to sue (“antitrust standing”) and affirms the right of those parties

to assign their claims to others (“free assignability”). By invoking antitrust

standing as a basis to impede Sysco from effectuating the assignment its

claims, the magistrate judge erred as a matter of federal antitrust law.

      C.    The Doctrine of Champerty Favors Substitution of the
            Claim Owner.

      The magistrate judge also reasoned (Order at 18) that the policies

animating the “medieval doctrine of ‘maintenance by champerty’ ” justified

denial of substitution. That is incorrect. The magistrate judge’s reasoning

drew heavily from Sysco’s own submissions to the arbitral tribunal – and to

the district court on appeal from the tribunal’s adverse ruling – arguing that a

party should be allowed to control its own litigation. See Order at 17-18

(adopting the arguments of Sysco’s expert and the dissenting arbitrator).

      But the magistrate judge’s denial of substitution creates the very policy

concern that animates the doctrine of champerty, because it puts Sysco in the

(unwanted) position of litigating claims, as the nominal plaintiff, that are

actually owned by Carina. Thus, the magistrate judge’s adoption of Sysco’s

arguments in different setting turns those policies on their head in the current

posture.




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                               CONCLUSION

      Sysco respectfully requests that the Court set aside the magistrate

judge’s ruling and order substitution.


Dated: February 23, 2024         Respectfully submitted,

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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST LITIGATION                        Civil Action No. 18-cv-01776

IN RE CATTLE AND BEEF ANTITRUST                        Civil Action No. 22-md-03031
LITIGATION
                                                       Honorable John R. Tunheim
THIS DOCUMENT RELATES TO:                              Honorable John F. Docherty
Sysco Corp. v. Agri Stats, Inc., et al.,
Case No. 21-cv-01374 (D. Minn.), and                   LR 7.1(f) & LR 72.2(d)
Sysco Corp. v. Cargill Inc., et al.                    CERTIFICATE OF COMPLIANCE
Case No. 22-cv-01750 (D. Minn.)


I, Christopher P. Wilson, certify that the

       Memorandum titled:
       complies with Local Rule 7.1(f).

or

 X     Objection or Response to the Magistrate Judge’s Ruling complies with Local Rule 72.2(d).

I further certify that, in preparation of the above document, I:

       Used the following word processing program and version: Microsoft Word 365 and that this
 X
       word processing program has been applied specifically to include all text, including
       headings, footnotes, and quotations in the following word count.
or

       Counted the words in the document.


I further certify that the above document contains the following number of words: 3411.


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